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 8                              UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    United States ex rel. Denika Terry, et al.,           No. 2:15-cv-00799-KJM-DB
12                              Plaintiffs,                 ORDER
13           v.
14
      Wasatch Advantage Group, LLC, et al.,
15
                                Defendants.
16

17           The court has reviewed the stipulation and proposed order to appoint the Impact Fund as

18   additional class counsel. ECF No. 139. As noted in that stipulation, this court previously

19   appointed Centro Legal de la Raza, the Law Offices of Andrew Wolff, and Goldstein, Borgen,
20   Dardarian & Ho as class counsel. The parties’ stipulation and proposed order explains only

21   briefly that the “appointment of additional class counsel is appropriate given the magnitude and

22   scope of the litigation.” See Stip. & Proposed Order at 3, ECF No. 139. The court recognizes

23   that representation by counsel at multiple firms may be necessary in a complex action, but the

24   court cannot determine without more information whether that is true of this case. The court

25   therefore reserves a decision on the stipulation and proposed order until after the status

26   conference currently set for October 14, 2021. The parties shall be prepared to discuss at that

27   status conference why the appointment of additional class counsel is appropriate in this case.

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    Case 2:15-cv-00799-KJM-DB Document 141 Filed 10/07/21 Page 2 of 2


1        IT IS SO ORDERED.

2   DATED: October 7, 2021.
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